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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          CENTRAL DIVISION


UNITED STATES OF AMERICA

VS.                          4:19-CR-00566-BSM-14

RONALD CRAIG SMITH


                 ORDER OF DETENTION PENDING TRIAL

      On February 3, 2020, the Court held a hearing on the United States’ Motion

to Revoke the Pretrial Release of Defendant Ronald Craig Smith (“Mr. Smith”).

Doc. 127. Mr. Smith’s attorney admitted her client was discharged from in-patient

drug treatment on November 7, 2019 for smoking a cigarette, and thereafter failed

to have any communication or contact with his pretrial services officer until he was

arrested by the United State Marshals Service on January 30, 2020.

      For the detailed reasons stated on the record at the conclusion of the hearing,

the Court finds that Mr. Smith violated his O/R Bond and absconded supervision.

Given those circumstances, there is no condition or combination of conditions I

could impose that Mr. Smith is likely to comply with. See 18 U.S.C. § 3148(b)(1)(A)

and (2)(B).

      Accordingly, the Court concludes that Mr. Smith must be detained until all

charges in this case have been resolved.
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      Mr. Smith is committed to the custody of the Attorney General or a designated

representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or held in custody pending

appeal. He must be afforded a reasonable opportunity to consult privately with

defense counsel. On order of a United States Court or on request of an attorney for

the Government, the person in charge of the corrections facility must deliver Mr.

Smith to the United States Marshal for all court appearances.

      IT IS THEREFORE ORDERED THAT the Government’s Motion to Revoke,

Doc. 127, is GRANTED and Mr. Smith is HEREBY DETAINED.

      IT IS SO ORDERED this 3rd day of February, 2020.



                                       ___________________________________
                                       UNITED STATES MAGISTRATE JUDGE




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